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                                                                                          Syrøcuse I Buffalo
Karen GuYder Felter                        September 12,2018
                                                                                  Long Island I Ihhite Plains
Partner
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VIA ECF
Hon. Frederick J. Scullin
United States District Judge
Federal Building and U.S. Courthouse
100 South Clinton Street
P. O. Box 7255
Syracuse, NY 13261'7345

           Re:     Doe v. SYracuse UniversitY, et al
                   Civil Action No.: 5:18-CV-00496 IFJS-DEP]

Dear Judge Scullin:

                                                                            the attached transcript as Exhibit
          I write to request that the court direct the clerk to substitute
,0I,,
      to plaintiffs, oppïsition (Dkt. # 51) to defendants' motion
                                                                    for injunctive relief via order to Show
                                                               plaintiffs to file directly the transcript as a
cause (Dkt. # 4g), or, in the alternative, to grant leavg to
                                                          by piaintiffs. Plaintiffs attached a copy of the
supplementary exhibit to the papers previoisly filed
                                                              and received it today from the court's reporter'
transcript order to their opposition papers (Dkt. # 51-g)
                                                                        the parties on september 5' 2^0^18'
         As is relevant to the pending motion, which was argued by
                                                                 that plaintifls soyqht the same relief from
the newly filed transcript fully refutes defendants'asseftioã
                                                               injunction (!t1 + 14) and from.Justice
this court via the June 2018 motion for TRO/preliminary
                                                                            defendants'contention that
Mcclusky in reflersãn county. Furthermor.,ìh" transciipt disproves
,.plaintiffs previously represented that they would ø9Tg.     *   erticle 78 claim to this action" (Dkt' # 48-
 1, p. 6) (,.Inexplicabíy, Étaintffs split.offihe Article
                                                          78 úaim and instituted a separate action in
                                                           abgye, contains the exact same substantive
Jefferson county s"õr*" court, ïhi"h, as indicated
                                                             this Court's prior ruling, Plaintiffs, and their
 contentions. And, instead of seeking reconsideration of
                                                                and that injunction arguments they made
 counsel, sought a fresh audience for the same preriminary
                                                            action in response to Plaintiffs' attempt at
 before this court. ... This court should rightfully take
 impermissible forum shoPPing.")
                                                                           consider the merits of plaintiffs'
          As evidenced by the attached transcript, this court did not
                                                                      challenged disciplinary action because
 likelihood of success on obtaining reversal oitit. University's
 no such claim was before the Court. Moreover, counsel
                                                                foi plaintiffs repeatedly noted tha] we planned
                                                                 when the University completed the
 to file an action for Article 78 relíef in state co,urt if and
 administrative aPPeal Process :


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                   MS. FELTER:            so if the university is taking the position that they want to
                                          preliminarily release the transcripts, they can't do so with
                                          ihis notation pending the results of the appeal'

                                           The university's counsel is also correct in stating that
                                          ptaíntffi
                                          ^gettìng
                                                     did not address the tíkelíhood of success in
                                                   thß Court to reverse the Conduct Board's
                                          "drciräns,
                                                     ønd thøt ß becøuse no such cløím for relief
                                           exìsts ín thß case. Contrary to the University's
                                          contentíons that the pløintffi have not requested that this
                                          court overturn the conduct Board's decisíons because it
                                           has no iurßdictìon to do so.

                                           Instead, thís case ìs about the [Jníversity's breøch of íts
                                           contrøctuøl øgreements with the students and defamation.

    Ex. A, pp.6-7.

                       MS. FELTER:          TheUnìversítyarguesthatdueprocesswasøffordedthe
                                           plaintffi ¡n ihe conduct proceedìngs, but thís is frankly
                                           'oo
                                               or[u*rntfor another day in a dffirentforum' There
                                           is an ãdminisirative record of the disciplinary proceedings,
                                           and to quote the chairman of the Conduct Board, "that
                                           record wìil speak for itself ¿z any Article 78 proceeding'"
     Ex. A, pp. 7-8.


                           THE COURT:      Ms. Felter, now you'te reølly talking about the merits of
                                           the actíon now. Can we iust focus on the prelìminøry
                                           ínjunctíon, what the status quo may be?
     Ex. A, p. 8.

                           MS. FELTER:     In this case the    appeals were finalízed and submitted
                                           completely as of June 8, and we still don't have a decision
                                           from ttre Ûniversity, and they sent an e-mail saying that
                                           there was going to be a further delay' So that delay is
                                           preventingihe itudents from getting a final resolution on
                                           inis aiscipÌinary action and authorizing them to then go and
                                           størt øn Article 78 proceeding where the impropriety of




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                                                                           an issue and      their
                                  the procedures that were used would be
                                  abilþ to get øn ìniunction ín that cøse'

                 THE COURT:        I thought the appeal had already been taken and it was
                                   presently being considered?

                MS. FELTER:        Yes.Butwehavenoideawhenthatappealwillberesolved
                                   and the Article 78 actíon cannot be størted'


                 MS. FELIER:       Exactly.Sotherehasbeenthisinordinatedelaywhichis
                                   r"tti"g into the time   that the students have to apply to other
                                   schools.

                                                                                       too'
                 THE COURT:        Well, the Article 78 proceeding will take some time

                 MS. FELIER:       AbsolutelY.

                  THE COURT:       So as ø practical matter, íf the notation stays on the
                                   transcripls until after the Article 78 proceeding takes
                                   pløce, íi's going to be long past the tíme'

     Ex. A, pp. 10-11.

                  MS. FELIER:       I mean, the University      claims that the policy of holding
                                    iuntttiptt and all of this has to do with preventing stu{e1ts
                                    ito- uUttonding from the disciplinary process' A1{ the
                                    iact of the mattei is, that they went through the disciplinary
                                    pro..rr. You know, they submitted themselves to itandthe
                                    iiäiirsin ß delavìni thq finøtín o:" that '- ror     z 'sq ø'nd
                                                                                            Art¡cle
                                                                      g fu ø støte couft



      Ex. A, p.26.




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                                                                                                 merits of
           plaintiffs fequest that the court take the above into consideration when deciding the
    defendants' pending claim for injunctive relief'

                                                RespectfullY,




                                                 Karen G. Felter

    Cc:        All counsel of record (VIA CM/ECF)




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